   22-50929-mmp Doc#361 Filed 10/22/23 Entered 10/22/23 05:08:29 Ntc/Hrg BK intp/allcr
                                      Pg 1 of 1
                      UNITED STATES BANKRUPTCY COURT
                             Western District of Texas

                                                                  Bankruptcy Case
                                                                                  22−50929−mmp
                                                                             No.:
                                                                     Chapter No.: 11
                                                                           Judge: Michael M Parker
IN RE: Highpoint Lifehope SPE, LLC , Debtor(s)




                                         NOTICE OF HEARING

PLEASE TAKE NOTICE that a hearing will be held

          San Antonio Courtroom 1, Hipolito F. Garcia Fed Bldg & Courthouse, 615 E. Houston St., San
     at   Antonio, TX 78205

     on   11/1/23 at 09:30 AM

     Hearing to Consider and Act Upon the Following: (IF TIME ESTIMATE EXCEEDS 20 MINUTES,
     PLEASE E−MAIL DEANNA CASTLEBERRY AT: deanna_castleberry@txwb.uscourts.gov.) (Related
     Document(s): 359 Joint Motion for Order (I) Approving Settlement Agreement Between Debtor and Capital
     One, National Association, and (II) Granting Related Relief filed by Natalie F. Wilson for Debtor Highpoint
     Lifehope, SPE, LLC. and Robert P. Harris for Creditor Capital One, National Association. Hearing Scheduled
     For 11/1/2023 at 9:30 AM at SA Courtroom 1. (Castleberry, Deanna)


Dated: 10/22/23
                                                           Barry D. Knight
                                                           Clerk, U. S. Bankruptcy Court




                                                                                           [Hearing Notice (BK)] [NtchrgBKapac]
